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   ORDERED in the Southern District of Florida on October 23, 2014.




                                                          Robert A. Mark, Judge
                                                          United States Bankruptcy Court
___________________________________________________________________________
                                         UNITED STATES BANKRUPTCY COURT
                                          SOUTHERN DISTRICT OF FLORIDA
                                                   MIAMI DIVISION
                                                 www.flsb.uscourts.gov

           In re: Emilse Ortiz                                      Case No: 14-26199-RAM
                                                                    Chapter 13

                                    Debtor      /

                    ORDER GRANTING MOTION TO VALUE AND DETERMINE SECURED
                       STATUS OF LIEN ON REAL PROPERTY HELD BY WELLS FARGO
                       BANK, N.A.

      THIS CASE came to be heard on October 14, 2014 on the Debtor’s Motion to

Value and Determine Secured Status of Lien on Real Property (DE 20; the “Motion”).

Based upon the debtor’s assertions made in support of the Motion, without objection,

having considered the record in this case, and being duly advised in the premises, the

Court FINDS as follows:

      A.     The value of the debtor’s real property (the “Real Property”) located at

             14921 SW 104th ST, 1-104, Miami, FL 33196, and more particularly

             described as
                Condominium Unit No. 104, Building 1, Heron at the
                Hammocks, a Condominium according to the
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                        Declaration of Condominium thereof, recorded in Official
                        Records Book 11542, at Page 2022, of the public
                        Records of Miami-Dade County, Florida, together with all
                        amendments thereto, and together with said
                        Condominium Unit’s share of the common elements
                        appurtenant thereto.


                 is $ 101,000.00 at the time of the filing of this case.

        B.       The total of all claims secured by liens on the Real Property senior to the

                 lien of Wells Fargo Bank, N.A.             (the “2nd Mortgage Lender”) is $

                 112,237.98 .

        C.       The equity remaining in the Real Property after payment of all claims

                 secured by liens senior to the lien of 2nd Mortgage Lender is $ 0.00        and

                 2nd Mortgage Lender has a secured interest in the Real Property in such

                 amount.

        Consequently, it is ORDERED as follows:

        1.       The Motion is GRANTED.

        2.       2nd Mortgage Lender has an allowed secured claim in the amount of $ 0.00.

        3.       Because 2nd Mortgage Lender’s secured interest in the Real Property is

                 $0.00, 2nd Mortgage Lender’s lien recorded on         11/18/2006      at OR

                 BOOK 25110 Page 3949 of the official records of Miami-Dade

                 County, Florida shall be deemed void and shall be extinguished automatically,

                 without further order of the Court, upon entry of the debtor’s discharge in this

                 Chapter 13 case. If this case is converted to a case under any other chapter

                 or if the Chapter 13 case is dismissed, 2nd Mortgage Lender’s lien will no

                 longer be considered void and shall be restored as a lien on the Real

                 Property.

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        4.       2nd Mortgage Lender has not filed a proof of claim in this case. The trustee

                 shall not disburse any payments to 2nd Mortgage Lender unless a proof of

                 claim is timely filed. In the event a proof of claim is timely filed, it shall be

                 classified as a secured claim in the amount stated in paragraph 2, above,

                 and as a general unsecured claim for any amount in excess of such

                 secured claim, regardless of the original classification in the proof of claim

                 as filed.


        5.       The Real Property may not be sold or refinanced without proper notice and

                 further order of the Court.

        6.       Notwithstanding the foregoing, this Order is not recordable or enforceable

                 until the debtor receives a discharge in this Chapter 13 case.

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Submitted By:

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Attorney for debtor is directed to serve a conformed copy of this Order on all interested
parties immediately upon receipt hereof and to file a certificate of service.




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